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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Gorss Motels, Inc.
                                                 Plaintiff,
v.                                                            Case No.: 1:16−cv−10975
                                                              Honorable Ronald A. Guzman
Renue Systems Development Corp., Inc., et al.
                                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 30, 2017:


        MINUTE entry before the Honorable Ronald A. Guzman: Defendants' motion to
stay discovery [24] is denied. Plaintiff to respond to Defendant's motion for judgment [20]
and motion to strike class allegations [22] within 21 days of the date of entry of this order
and Defendants shall file any replies within 21 days thereafter. Ruling by mail. Parties
need not appear at the motion hearing set for January 31, 2017 at 9:00 a.m. Mailed
notice(is, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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